Case 2:20-cv-11181-CAS-JPR Document 100 Filed 12/05/22 Page 1 of 1 Page ID #:1932

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES - GENERAL
 Case No.          2:20-cv-11181-CAS(JPRx)                                            Date   December 5, 2022
 Title             NEMAN BROTHERS AND ASSOC., INC. v. INTERFOCUS, INC. DBA
                   WWW.PATPAT.COM ; ET AL.



 Present: The Honorable            CHRISTINA A. SNYDER, U.S. DISTRICT JUDGE
     Krystal Pastrana Hernandez                             Laura Elias                              N/A
                 Deputy Clerk                        Court Reporter / Recorder                     Tape No.
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                          Chan Jeong                                         Mark Lee, Zheng Liu
 Proceedings:                 ZOOM: Further hearing on 1) Motion for Summary Judgment on
                              copyright infringement claims in Plaintiff’s complaint; and 2) Partial
                              Summary Judgment on counterclaim[35], Motion for Summary
                              Judgment or Adjudication[41], Motion for Summary Judgment on
                              copyright registration invalidity[68]

      Hearing held and counsel/parties are present. Tentative Order provided. The
Court confers with counsel/parties and counsel, as stated on the record. The Court
continues the matter to Monday December 12, 2022 at 11:00 a.m.




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                                                               Initials of Preparer               kmh




CV 90 (06/04)                                  CIVIL MINUTES - GENERAL                                     Page 1 of 1
